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Nevada Bar No. 7567

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Attorneys for Defendant, TARGET CORPORATION

UNITED STATES DISTRICT COURT

DISTRICT OF NEVADA
PATRIC LAMB, CASE NO::
Plaintiff,
DECLARATION OF DANIEL MOORE
Vv. IN SUPPORT OF DEFENDANT
TARGET CORPORATION’S NOTICE
TARGET CORPORATION, a Foreign OF REMOVAL OF ACTION UNDER

Corporation; DOES 1-20, and ROE BUSINESS 28 U.S.C. § 1441(b) (DIVERSITY)

ENTITIES 1-20,

Defendants.

 

 

H/

I, Daniel Moore, declare as follows:

1. I am employed as Director Counsel-Litigation for Target Enterprises, Inc. I am personally
familiar with the within stated facts and would and could testify based upon personal knowledge
of the same, and as to those facts stated on information and belief, I believe them to be true.

2. At all times material hereto, Target Corporation was and is incorporated in the state of
Minnesota.

3. Atall times material hereto, Target’s corporate Headquarters and Executive Officers were and

are located in Minneapolis, Minnesota.

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DECLARATION OF DANIEL MOORE IN SUPPORT OF DEFENDANT TARGET
CORPORATION’S NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. § 1441(b)
(DIVERSITY)

 
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4. Atall times material hereto, Target’s Executive Officers and senior management, including, but
not limited to, the Chief Executive Officers, Chief Operating Officer, Chief Financial Officers,
Chief Legal Officer, Chief Marketing Officer, Chief Human Resources Officer, and Chief
Stores Officer, were and are located at Target Headquarters in Minnesota.

5. At all times material hereto, Target’s managerial and policymaking functions, including, but
not limited to, finance, marketing, merchandising, legal, technology services, store operations,
human resources, and property development, were and are performed at and promulgated from
Target Headquarters in Minnesota.

6. At all times material hereto, Target’s corporate books, records, and accounts were and are
created and maintained at Target Headquarters in Minnesota.

I declare under penalty of perjury under the laws of the United States and the State of Nevada that

the foregoing is true and correct, and if called upon to testify to the facts thereto, I could and would do
so competently.

Executed on March 42, 2020 in Minneapolis, Minnesota.

Fo on PD a
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anon

DANIEL MOORE

 

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DECLARATION OF DANIEL MOORE IN SUPPORT OF DEFENDANT TARGET
CORPORATION’S NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. § 1441(b)
(DIVERSITY)

 
